Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 1 of 53


                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

 HERITAGE FOUNDATION,et al                       Civil Action
                                                 No. 1:23-1198
                      Plaintiff,
         vs.

 U.S. DEPARTMENT OF HOMELAND                     February 23, 2024
 SECURITY,                                       2:32 p.m.

                   Defendant.                    Washington, DC
 __________________________

                   TRANSCRIPT OF MOTION HEARING
               BEFORE THE HONORABLE CARL J. NICHOLS
                   UNITED STATES DISTRICT JUDGE

 APPEARANCES:

 For Plaintiff:              Eric Neal Cornett
                               LAW OFFICE OF ERIC NEAL CORNETT
                               70 I Street S.E., 525
                               Washington, DC 20003
                               606-275-0978
                             Samuel Dewey
                             Daniel Mauler
                             Nile Gaudiner
                               CHAMBERS OF SAMUEL EVERETT DEWEY
                               2200 12th Court North, Apt. 609
                               Arlington, VA 22201
                               703-261-4194
 For Defendant:              John Bardo
                             Peter Pfaffenroth
                               DOJ-USAO
                               601 D Street NW
                               Washington, DC 20530
                               202-870-6770

 Reported By:                LORRAINE T. HERMAN, RPR, CRC
                               Official Court Reporter
                               U.S. District & Bankruptcy Cts.
                               333 Constitution Avenue NW
                               Washington, D.C. 20001
                               lorraine_herman@dcd.uscourts.gov

 *** Proceedings recorded by stenotype shorthand.
 *** Transcript produced by computer-aided transcription.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 2 of 53
                                                                            2

1                            P R O C E E D I N G S

2                 DEPUTY CLERK:    Good afternoon, Your Honor.

3                 This is civil case year 2023-11998, Heritage

4     Foundation, et al versus U.S. Department of Homeland

5     Security.

6                 Counsel, please come forward and introduce

7     yourselves for the record, beginning with the plaintiffs.

8                 MR. DEWEY:   Good afternoon, Your Honor.        Sam Dewey

9     for the plaintiffs.

10                THE COURT:   Mr. Dewey.

11                MR. DEWEY:   With me are Dan Mauler, also counsel,

12    Neal Cornett and Dr. Nile Gaudiner from the Heritage

13    Foundation, as the client rep.

14                THE COURT:   Good afternoon, everyone.

15                MR. BARDO:   Good afternoon, Your Honor.        John

16    Bardo on behalf of the Department of Homeland Security.            I'm

17    joined at counsel table by my deputy, civil division chief,

18    Peter Pfaffenroth.

19                THE COURT:   Good afternoon as well.

20                We are here principally on the parties'

21    cross-motions for summary judgment.        I'm going to treat this

22    as a typical oral argument.       I'm going to start with the

23    government.

24                I just want to say a couple things.        Really, just

25    one thing at the beginning, which is I am not privy to any
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 3 of 53
                                                                            3

1     of Prince Harry's immigration information.         I haven't asked

2     for it to be submitted in camera.        I haven't asked for any

3     explanation of it to be submitted in camera.          So everyone

4     should take every question I ask as a hypothetical, based on

5     the arguments that have been presented to me, many of which

6     assume a set of facts.

7                And I'm going to be exploring those to some

8     extent.   But I just don't know the answers to many of the

9     questions I'll be asking, because I have not ordered, as I

10    said, the disclosure of the information, even to me, or the

11    declarations to me.

12               And part of the reason I did that, in addition to

13    not knowing whether it's appropriate to do so, is I wanted

14    to be able to have a hearing where I could ask hypothetical

15    questions without risking disclosing the very information

16    that the government says it is unable to disclose.

17               So no one should read anything into my questions

18    to suggest that I know the answers to what happened with

19    Prince Harry's immigration information.

20               So with that, why don't we begin with the

21    government.    And we have cross-motions.       I don't think we

22    need to argue the motions separately.        They are obviously

23    targeting at the same set of issues.

24               What I would really like to hear from you,

25    Mr. Bardo, is the government's main arguments.          I'll have a
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 4 of 53
                                                                      4

1     series of questions.     I'll then go to Plaintiff's counsel

2     for their argument.     Perhaps a short rebuttal from the

3     government and then short surrebuttal, as warranted, from

4     Plaintiff's counsel.     Okay?

5                MR. BARDO:    That's fine, Your Honor.

6                THE COURT:    Go ahead.

7                MR. BARDO:    Yes.

8                Your Honor, the government, in response to the

9     plaintiff's broad request for immigration information

10    regarding Prince Harry that's stored within various

11    components of the Department of Homeland Security, has

12    issued a partial categorical withholding, as well as a

13    partial Glomar response.      These are all based on Exemption 6

14    and Exemption 7(C).     Those are the personal privacy

15    exemptions.    Exemption 7(C) being the law enforcement one.

16               The reason for the categorical withholding and the

17    partial Glomar is none of the information that we have can

18    be released without acknowledging what Prince Harry's

19    immigration status is or tipping our hand as to what it is.

20    That's the type of information that's consistently been held

21    by courts to be the type of information that can be withheld

22    under the personal privacy exemption.        And we have an

23    obligation to withhold that information.

24               THE COURT:    Is Plaintiff right -- and it feels

25    very uncomfortable to me to refer to him as Prince Harry,
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 5 of 53
                                                                           5

1     because that sounds very informal.        People wouldn't call me

2     Judge Carl.    But I'm not sure there's a really more formal

3     last name that he goes by.       I could call him the Duke.

4                MR. BARDO:    I can call him the Duke of Sussex.

5                THE COURT:    Why don't we call him the Duke of

6     Sussex.   That feels less inappropriately informal to me.

7                MR. BARDO:    All right.

8                THE COURT:    Is Heritage right that for the Duke of

9     Sussex to enter the United States, he would have had to

10    answer the question, at some point, whether he had used

11    illegal drugs?

12               MR. BARDO:    Not necessarily, Your Honor.

13               There are several ways in which he could have been

14    admitted into the United States lawfully.         That could be he

15    could have had a waiver.      He could be here on a Category A

16    visa or this could --

17               THE COURT:    Remind me.     I know you say that.    A

18    Category A visa is?

19               MR. BARDO:    That's a diplomatic visa, Your Honor.

20               This could also --

21               THE COURT:    That's not really plausible at this

22    point, is it?

23               MR. BARDO:    It's possible.

24               THE COURT:    I asked whether it was plausible.

25               MR. BARDO:    Yes, we would argue that it is
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 6 of 53
                                                                            6

1     plausible, Your Honor.

2                THE COURT:    You think it's plausible that the Duke

3     is -- notwithstanding all of his issues documented in his

4     book -- is here as a diplomat for the UK?

5                MR. BARDO:    Your Honor, I haven't studied the

6     standards, exactly, what's required to be -- to be a

7     recipient of a diplomatic visa.       But we -- it is certainly

8     plausible.

9                THE COURT:    Okay.

10               You say he might have sought a waiver.         I

11    understand that.     If he sought a waiver, he would have had

12    to tell the government why he was seeking the waiver.           And

13    would that have disclosed to the government -- again, this

14    is all "if."

15               If he sought a waiver, he would have had to say

16    why he was seeking a waiver.       And would that have not either

17    disclosed the answer to the question I asked you, whether he

18    would have to answer, or can you ask for a waiver without

19    disclosing the reason for the waiver?

20               MR. BARDO:    My understanding, Your Honor, is he

21    would have had to answer that question in that circumstance.

22               THE COURT:    Okay.    So at some point, at least, the

23    Duke, to enter the U.S., either had to answer the question

24    whether he had engaged in drug use or would have had to have

25    a Category A diplomatic visa or would have had to seek a
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 7 of 53
                                                                      7

1     waiver of the kind articulated in the parties' briefs, but

2     that itself would have disclosed past drug use.          Yes?

3                MR. BARDO:    Yes, I believe that's correct,

4     Your Honor.

5                THE COURT:    Okay.    Are there any other ways he

6     could have entered the United States?

7                MR. BARDO:    I cannot think of any off the top of

8     my head, but there could be others.

9                THE COURT:    Well, you're here representing the

10    United States.    I need to understand your understanding of

11    the INA and whether there are other ways that the Duke could

12    have entered the United States, at a minimum without

13    answering that question, but --

14               MR. BARDO:    Those are the only ways that I'm aware

15    of, Your Honor.

16               THE COURT:    Okay.

17               So assuming that we're in just the regular entry

18    world, where he's an entrant and he's asked the question

19    about past drug use.     If he answered "yes," what, in the

20    government's view, happens next?

21               MR. BARDO:    A consular officer, as we explained in

22    our brief, would have to seek an admission from him, and

23    that's a formal process that's layed out in the Foreign

24    Affairs Manual that requires a series of steps.

25               I mean, that gets into State Department
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 8 of 53
                                                                          8

1     information, which is not at issue in this case.          But, yeah,

2     that's the process he would have to go through.          It's

3     not -- he couldn't appear at an interview with a consular

4     officer and the counselor officer says to him, I understand

5     you disclosed in your book you used drugs.         You can't come

6     here unless you get a waiver.       There is a formal process of

7     seeking an admission, according to the Foreign Affairs

8     Manual.

9                THE COURT:    Right.    And that applies if he

10    answered "yes" to that question.

11               MR. BARDO:    That's correct, Your Honor.

12               THE COURT:    Okay.

13               What if he had answered "no"?        Then whoever is

14    looking at his entrance materials wouldn't necessarily have

15    known anything about past drug use and might have admitted

16    him.   Yes?

17               MR. BARDO:    That's possible, Your Honor, yes.

18               THE COURT:    And in those circumstances -- again,

19    assuming this is hypothetically what's going on or what

20    happened, is Plaintiff right to suggest that the government

21    has or should have here some duty to investigate whether

22    that answer was correct, in light of the Duke's book?

23               MR. BARDO:    I'm not --

24               THE COURT:    I'm assuming, hypothetically, the

25    Duke, to enter the United States, answers "no" to the
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 9 of 53
                                                                            9

1     question -- I'm not saying to enter.

2                In connection with his entry to the United States,

3     the Duke answers the question "no" to past drug use.            He

4     enters.   He's in the United States.       He's living here,

5     according to his book.      The book is then published and it

6     discloses, from his perspective at least, past drug use.             In

7     those circumstances, what, if anything, from the

8     government's perspective should happen next?

9                MR. BARDO:    Well, the book isn't sworn testimony

10    or proof that he used drugs.       It's his recollection of

11    events in his life that are presented in a way to sell

12    books.    Just by saying something in a book doesn't make it

13    true, and they can't necessarily go off a book.

14               THE COURT:    Right.    So maybe the government

15    couldn't conclude that -- again, in this hypothetical -- the

16    answer was untrue.     But would the government normally, when

17    presented with some evidence that an answer on an entry form

18    was incorrect, seek to determine whether there had been an

19    untrue statement made at entry?

20               MR. BARDO:    Your Honor, I'm not necessarily deeply

21    familiar with that -- those kinds of procedures that the

22    State Department uses.      But I would imagine so, if they had

23    some information that someone had made a false statement on

24    an official form; that there would be an investigation.

25               THE COURT:    I know you said there are possible
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 10 of 53
                                                                        10

1     ways he could have entered.       Is it absolutely clear that the

2     Duke is not a U.S. citizen?

3                 MR. BARDO:    He has said he's not a U.S. citizen,

4     Your Honor.

5                 THE COURT:    Okay.   But that's as clear as his

6     other statements in the book.        I mean, it's not a sworn

7     admission --

8                 MR. BARDO:    That's correct.     Yes.   And we do have

9     his -- we've admitted -- although we're not disclosing it,

10    we've admitted that we have his information in various

11    immigration files.      If he were a U.S. citizen, his

12    information wouldn't be in those files.

13                THE COURT:    Well, it depends when he became

14    naturalized.

15                MR. BARDO:    That's true.

16                THE COURT:    Okay.   So to just catalog the options,

17    you have at entry -- and I don't really think there's any

18    dispute that the Duke entered the United States at least in

19    March of 2020.     And then bought a house sometime thereafter

20    and is now making California his residence.

21                When the Duke entered in March 2020, if he

22    answered "yes" on that form that he had to fill out to past

23    drug use, that would have required something of the consular

24    officer or someone else reviewing that form, and he would

25    not have been permitted to enter, at least, automatically
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 11 of 53
                                                                          11

1     right then.    Fair?

2                 MR. BARDO:    That's true, Your Honor, unless he has

3     a diplomatic visa.

4                 THE COURT:    Right.   Okay.    Let's put that to the

5     side for a second.

6                 That's true unless -- or, in addition, he could

7     seek a waiver.     Right?

8                 MR. BARDO:    That's right.

9                 THE COURT:    As a practical matter, how do those

10    two things relate chronologically?         Can one seek a waiver

11    preemptively?

12                MR. BARDO:    My reading of the statute,

13    Your Honor -- and this is based on the text of the

14    statute -- is that a waiver is an option for someone who is

15    otherwise deemed inadmissible.        So my understanding, just

16    based on the text of the statute, is you have to first go

17    through the process of getting in through the normal

18    channel, and if you are denied at that point, then you can

19    petition, the statute says, the Secretary of State or the

20    Attorney General for a waiver.

21                THE COURT:    I suppose that could have happened

22    before, though.     Right?    I mean, we're assuming that the

23    relevant entry is March 2020.        I guess, hypothetically, at

24    least, he could have tried to enter in 2019 or 2020, been

25    denied and then sought a waiver.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 12 of 53
                                                                         12

1                 MR. BARDO:    Yes.    Hypothetically, that's possible.

2                 THE COURT:    Right.   But assuming that didn't

3     happen, if he was -- if he checked the box or whatever on

4     the form in 2020 to past drug use, then either the process

5     you described kicks off, a consular officer seeks a formal

6     admission that is of the kind that you articulate in your

7     brief and/or he seeks a waiver.

8                 MR.CORNETT:    That's correct, Your Honor.

9                 THE COURT:    Okay.    And then, of course, there's

10    the diplomatic visa.

11                So why doesn't the public have an interest in

12    knowing which of those two routes the government took here?

13                MR. BARDO:    The public doesn't have an interest in

14    knowing it -- well, there's a minimal public interest in

15    knowing it because this is information on immigration status

16    that courts have consistently found to be exempt

17    information.

18                I mean, it's similar in category to someone's

19    health information or their education information.           This is

20    private, personal information.

21                The other reason is Prince Harry is -- or the Duke

22    of Sussex is one foreign national out of any number of

23    foreign nationals who enter the United States legally every

24    year.   The insight into how -- any insight that this would

25    give to how the government handled Prince Harry's admission
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 13 of 53
                                                                       13

1     wouldn't be able to draw a broader -- give the public a

2     broader understanding of how the government conducts itself

3     in processing admissions from foreign nationals who admit to

4     drug use or high-profile individuals.

5                 THE COURT:    I mean, it is definitely not the case,

6     you would concede, that FOIA requests related to specific

7     investigations or specific individuals can never be

8     insufficiently subject to public interest to warrant

9     disclosure.    I mean, there's tons of cases where courts have

10    held that, notwithstanding the fact that they are individual

11    cases, the public's interest outweighs the private interest.

12                MR. BARDO:    Yeah.   I admit, Your Honor, I wouldn't

13    say that never -- that that's never possible.          But I

14    would -- this case is similar to a case called Property of

15    the People versus Department of Justice, where your

16    colleague, Judge Cooper, upheld a Glomar response from the

17    FBI when the plaintiff had sought records regarding

18    President Trump's interactions with the FBI prior to 2015.

19                They found that President Trump's, from when he

20    was a private citizen, his privacy interests outweighed any

21    public interest that there may be in previous interactions

22    he may have had with the FBI.

23                And I would argue, if President Trump has a

24    privacy interest in that kind of interaction with the

25    government, Prince Harry's privacy interest is even greater.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 14 of 53
                                                                        14

1     Because he was never a governmental official in this

2     country, has never appeared on a ballot in this country.

3     There's a much bigger public interest in an interaction with

4     a would-be elected officer than there is with a member of

5     the royal family of a foreign country.

6                 THE COURT:    This is really not briefed by the

7     parties and it's just a reminder to me.         Sometimes, if I

8     recall correctly, parties with an interest in documents

9     requested by a FOIA requester have an opportunity to make

10    their view known about disclosure or not.

11                MR. BARDO:    You mean reverse FOIA, Your Honor?

12                THE COURT:    Reverse FOIA, yeah.

13                Is reverse FOIA available to such parties in the

14    context of Exemptions 6 and 7(C) when we're talking about

15    privacy versus public interest?        Or is it just in the

16    competitive harm context where it often is used?

17                MR. BARDO:    That's where we see it most commonly,

18    Your Honor, in competitive harm.        But it would certainly be

19    available to people in Exemption 6 or 7(C).          But the

20    government has the same obligation to protect Prince Harry's

21    privacy as it would to protect anybody's privacy whose

22    immigration records were being sought.

23                THE COURT:    What that means -- I'm not suggesting

24    it's outcome-determinative, of course.         But what that means

25    is that, at least, in theory, the Duke of Sussex would have
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 15 of 53
                                                                          15

1     had the opportunity and has had the opportunity to intervene

2     here or to bring a suit, a reverse FOIA action, to preclude

3     the production of the information on the grounds that he

4     didn't want it produced.

5                 MR. BARDO:    In theory, he would, Your Honor.

6                 THE COURT:    Yeah.   I'm not suggesting at all that

7     that's a prerequisite to the government prevailing here.

8                 So I recognize the government's litigating

9     position across cases.      And I understand it.      I've said

10    this.   That there's, of course, potential harm from

11    disclosure of information in camera, whether declarations or

12    otherwise.

13                But why isn't this one of those cases where it

14    might make the most sense for the government to at least

15    tell me what the true set of facts is?         Because while it's

16    been nice to have that discussion with you without

17    disclosing facts, because I don't know them, at least

18    sometimes knowing the non-public facts helps me understand

19    the strength of the privacy interests and to weigh against

20    the public interests in what I then would at least know what

21    was disclosed or would be disclosed.

22                MR. BARDO:    Well, Your Honor, as you alluded

23    to -- I mean, the ability to do an in-camera review is

24    within your discretion.       But you alluded to what I think was

25    one of your earlier opinions, Judicial Watch versus
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 16 of 53
                                                                           16

1     Department of Justice, where you acknowledged the risks that

2     come with information potentially getting out.

3                 THE COURT:    Yes.   That was classified information

4     and that was concerned about national security.           Here the

5     concern would be different.       The concern would be that, as

6     always, when information is shared, it runs the risk of a

7     disclosure of the very thing that is sought to be protected.

8                 And I'm not discounting the Duke's privacy

9     interest.    I'm just suggesting -- you know, harm to national

10    security seems, to me, a greater interest from inadvertent

11    disclosure than the privacy interest that the government is

12    asserting on the Duke's behalf.

13                MR. BARDO:    Well, many of these records,

14    Your Honor, are law enforcement records.         So there is a

15    stigma associated with being mentioned in a law enforcement

16    record.    And Plaintiff's didn't contest this, but one of the

17    exemptions we argued was Exemption 7(E), the law enforcement

18    techniques exemption.      So there is confidential law

19    enforcement tools and techniques in these files that would

20    be in anything we would produce in an in-camera review.

21                THE COURT:    Obviously, I've been asking a lot of

22    questions.    Probably diverted you from the argument you

23    wanted to make.     Do you want to circle back to your core set

24    of arguments?     I apologize.

25                MR. BARDO:    That's fine, Your Honor.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 17 of 53
                                                                            17

1                 The public interest in this information, as I

2     alluded to before, this is one individual, who had

3     interactions with the government.        It's not going to allow

4     people to draw broad conclusions.        We understand that the

5     Duke of Sussex is a public figure.        But even a public figure

6     has been found to have had their privacy interests; that

7     includes --

8                 THE COURT:    I think, to be fair, Heritage doesn't

9     argue that Prince Harry has no privacy interest -- excuse

10    me, the Duke of Sussex has no privacy interest in his

11    immigration records.      Their argument is that they're not

12    very strong privacy interests in light of the book and how

13    public a figure he both is and has made himself to be.

14                So his privacy interests are lower in this

15    information than they would be if they were yours, for

16    example.    Because you are not a very public person.            Not in

17    the same way.

18                So it's not that he doesn't have privacy

19    interests.    Of course, he does, I think Plaintiff says.

20    It's really that they are either at an ebb or at least much

21    weaker than other people's.

22                MR. BARDO:    Well, these specifically are

23    immigration records.      And the government has cited multiple

24    cases in its brief about the private nature of immigration

25    records and about the fact that people who are public
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 18 of 53
                                                                         18

1     figures still maintain their privacy interests.

2                 The only case that Plaintiff has really cited to

3     the contrary is this Muchnick versus DHS case.

4                 THE COURT:    Yes.

5                 MR. BARDO:    In that case, the subject of the

6     records was a sexually violent predator who had been

7     credibly accused.     He got off in the Irish courts on a

8     technicality.     So there was much higher public interest in

9     that particular case than there is here with someone who

10    admitted to using drugs.

11                The plaintiffs haven't cited any cases that are

12    similar to this one where they found -- where a court has

13    found that a public figure does not have a privacy interest

14    in his immigration records, absent this one outrageous

15    outlier of a case.      And I don't mean outrageous in the

16    opinion; I mean outrageous in the facts that they relied on

17    to demonstrate public interest.

18                THE COURT:    But why isn't that case pretty similar

19    to this one?     I mean, no conviction there.       As you said,

20    tossed on statute of limitations grounds or whatever it was.

21    The person goes through the waiver process, I guess, because

22    of that claim.     The court says the public's interest in

23    knowing how it was that he was admitted outweighs his

24    interest in not having his heretofore private immigration

25    materials not disclosed.       That seems pretty close to this
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 19 of 53
                                                                       19

1     case.

2                 MR. BARDO:    Well, the subject in that case had

3     been accused of sex crimes and had molested multiple young

4     girls.    This is someone who, in this case, is someone who in

5     a book admitted to using some drugs.

6                 I mean, common sense dictates that the public

7     would be much more interested in how someone who is a

8     credibly-accused sexual predator is in the country versus

9     someone who just admitted to using drugs.

10                THE COURT:    Really, I think, maybe frame it a

11    little bit differently.       The public has more interest, in

12    your view, in why the government admitted that guy than it

13    does in knowing why the government admitted the Duke of

14    Sussex.

15                MR. BARDO:    That's right, Your Honor.

16                THE COURT:    Given they're different.

17                MR. BARDO:    That's right.

18                THE COURT:    Because this is, of course, about

19    shining a light, if appropriate, on government

20    decision-making.     It's not about the public's interest,

21    prurient or otherwise, in individual entrants.

22                MR. BARDO:    That's right, Your Honor.

23                THE COURT:    Anything else you'd like to add before

24    I turn it over to Plaintiff's counsel and come back to you

25    for rebuttal?
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 20 of 53
                                                                          20

1                 MR. BARDO:    Nothing else, Your Honor.       We will

2     stay on the briefs for now.       Thank you.

3                 THE COURT:    Thank you.

4                 Counsel, Mr. Dewey?

5                 MR. DEWEY:    May I proceed, Your Honor?

6                 THE COURT:    You may.

7                 MR. DEWEY:    Your Honor, in Plaintiff's view, this

8     is a case about whether the government provides special

9     treatment for high-profile celebrities.

10                The Duke repeatedly admitted at length to the

11    elements of drug crimes, both here and abroad, in his

12    autobiography.     He admitted to daily drug use after he was

13    admitted in March of 2020.

14                The Duke sought entry to this country in March of

15    2020, as Your Honor has noted.        As of January 2020, he was

16    looking for a residence in Canada.        His royal security was

17    withdrawn in February of 2020.        He thought about moving

18    elsewhere.

19                In March of 2020, the Duke and the Duchess formed

20    an intent to leave Canada because of the closing border.

21    Less than two weeks later, the Duke enters the country on

22    March 14th to take up residence without any difficulty

23    whatsoever.

24                The Duke's admissions make him inadmissible

25    without -- as Your Honor has noted -- a waiver.           As
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 21 of 53
                                                                           21

1     Plaintiff's declarants explain, that is a complicated,

2     lengthy and technical process.        And yet again, the Duke

3     entered into less than two weeks.

4                 In Plaintiff's submission, that set of facts

5     raises profound questions about DHS's conduct.          There is a

6     profound public interest in understanding, one, whether or

7     not DHS acted improperly, and that is the public interest

8     under the Favish line.

9                 And the second -- and Your Honor alluded to this,

10    I think, earlier in discussions with my friend -- is CREW

11    III and IV in our papers, which is understanding:           How does

12    DHS understand high-profile cases?        And that line of cases,

13    Your Honor, goes very directly to the point Your Honor made,

14    that if the profile is high enough, treatment of an

15    individual suffices.

16                THE COURT:    Can we just go back to the first set

17    of questions I asked the government?         'Cause I think there's

18    actually agreement on these propositions, notwithstanding

19    perhaps -- and this is not to cast dispersions at all.           But

20    I think everyone agrees that when the Duke entered on

21    March 14th, he was -- one of a few things had to be true.

22    Either -- if he checked -- if he did not check the box for

23    past drug use, then maybe nothing would have happened with

24    respect to that question, and he would have entered, at

25    least possibly.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 22 of 53
                                                                         22

1                 If he checked the box for past drug use, then he

2     should not have been entered immediately and a process

3     should have commenced, either to learn more, perhaps to seek

4     the kind of formal admission that we've been talking about,

5     and/or for him to seek a waiver to permit his entry.

6                 And then I think, at least, hypothetically,

7     there's the possibility that none of those questions gets

8     asked because he's on a diplomatic visa.         And I know your

9     view of that.

10                It seems to me that everyone agrees that those are

11    the -- that's sort of the suite of possible steps that could

12    occur.    I know I'm being very general.       But do you see it

13    any differently than I just articulated?

14                MR. DEWEY:    We don't, Your Honor, with one

15    technical exception.

16                THE COURT:    Yeah.

17                MR. DEWEY:    And I think, based on what the

18    government said, I agree with you that that's now not in

19    dispute.    Your Honor asked if he can seek a waiver

20    preadmission.

21                THE COURT:    Yeah.

22                MR. DEWEY:    You can.    That's the form I-192.     And

23    it is a pretty lengthy form.       To Your Honor's point, you

24    have to explain the basis for seeking a waiver.

25                THE COURT:    Yeah.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 23 of 53
                                                                            23

1                 MR. DEWEY:    In this case, that would likely take a

2     long time.    As Mr. Saunders, one of our experts, points

3     out --

4                 THE COURT:    I read the reports.

5                 On March 14th, 2020, if the Duke checked the box,

6     Yes, I've engaged in past drug use, either he would then

7     have -- from your perspective -- to seek a waiver at that

8     point, or he could have previously, but if he had previously

9     sought a waiver, he would have had to disclose the past drug

10    use and the reason for the waiver.

11                MR. DEWEY:    Yes, Your Honor, broadly, with a

12    couple technical caveats, if I may.

13                THE COURT:    Please.

14                MR. DEWEY:    The first technical caveat is if he

15    checks the form, the agents would be under a duty to examine

16    him further.     That is pretty basic.      If they didn't do that,

17    that would, quite frankly, be misconduct more egregious than

18    we've alleged in our papers may well have occurred.              That is

19    in the reports, as Your Honor has noted.

20                The second technical point is Your Honor asked if

21    he could have a waiver previously.        That possibility, I

22    guess, theoretically, in the theoretical could exist, but

23    there are a number of factors in the record that indicate he

24    probably wouldn't.

25                First, prior entries as a working royal on
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 24 of 53
                                                                            24

1     government business, he could be in on a Class A.           2015, he

2     comes to see the president and he's traveling with a large

3     Metropolitan Police security detail.         We can see that for

4     those trips, he might not have been asked the question

5     because he's legitimately being sent by Her Majesty's

6     government to do official work.

7                 As to the waiver in this instance, Your Honor, the

8     waiver is only valid for the time length of the visa.            To

9     get a non-immigrant visa that let's you into the country for

10    more than, "I'm going to see my friends," you would need to

11    have some sort of basis, whether it's an O visa for special

12    talent or a job-based visa.       So you would have to have that

13    set up in advance.

14                Even if there was a prior waiver, the

15    standard -- it's going to be consider differently for, "I'm

16    coming to go to a friend's wedding," versus, "I'm living

17    here."    And that process would have to be done again.

18                THE COURT:    So I guess that triggers a question

19    that I had meant to ask before.        And that is:    Does a

20    citizen of the UK -- or in what circumstance does a citizen

21    of the UK need a visa to enter the United States, or did as

22    of March 2020?

23                MR. DEWEY:    Your Honor, as of March 2020, a

24    citizen could have entered using the visa-waiver process,

25    which let's you in for 90 days.        You just can't conduct
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 25 of 53
                                                                            25

1     business.    However, there's a question on that about the

2     drug use.

3                 THE COURT:    Okay.   So that does --

4                 MR. DEWEY:    And there's examples in our papers,

5     Your Honor, where people checked "yes," and in one case, a

6     high-profile individual was pulled off the plane.

7                 THE COURT:    So really, unless you're on a

8     diplomatic visa, if you are a citizen of the UK seeking to

9     enter the United States, in March 2020, you have to either

10    answer the question, Have you used drugs in the past, or

11    have a waiver that applies to the visit that we're talking

12    about.

13                MR. DEWEY:    Correct.

14                THE COURT:    Okay.   Got it.

15                MR. DEWEY:    Your Honor, a couple questions you

16    asked my friend that I want to attempt to provide some

17    insight on.

18                THE COURT:    Please.

19                MR. DEWEY:    The admissions process that my friend

20    referred to applies only to a custodial process.           We cited

21    cases in our papers, admittedly from the 9th Circuit,

22    holding it does not apply.        For example, the context of a

23    psychiatric examination.

24                Spare is a valid admission.       It's an admission by

25    a party opponent.     If the Duke were here and I were
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 26 of 53
                                                                           26

1     examining him, as Your Honor knows, it comes in.           Indeed,

2     the Duke confirmed the accuracy of passages in Spare under

3     cross-examination in the high court, in an unrelated manner,

4     and I would be happy to provide Your Honor with that

5     transcript if it would be helpful on that point.

6                 Your Honor asked about reverse --

7                 THE COURT:    It seems to me that the dispute

8     between the parties about what is a quote/unquote

9     "admission" isn't all that relevant to me.          I understand the

10    point.

11                MR. DEWEY:    Agree, Your Honor.     I'm just trying to

12    provide Your Honor with technical clarity.

13                THE COURT:    Yep.

14                MR. DEWEY:    I don't think it really matters for

15    our purposes.

16                THE COURT:    Yeah.

17                MR. DEWEY:    Your Honor asked about reverse FOIA.

18    Under reverse FOIA, in the Supreme Court's opinion, you

19    would need a statutory bar to disclosure because most FOIA

20    exemptions are discretionary.        The only applicable statutory

21    bar to disclosure, under the law I've seen, would be the

22    Privacy Act, but that would apply to a citizen or lawful

23    permanent resident.      However, the Duke still could seek to

24    intervene as a right or leave from Your Honor to answer that

25    question.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 27 of 53
                                                                             27

1                 As to the Exemption 7(E) point, I just wanted to

2     clarify for Your Honor that we reserved on those exemptions

3     asserted.    We didn't think we were going to challenge them.

4     We didn't think we were going to contest redaction of names.

5     But we don't know until we don't know what the Glomar stands

6     for.

7                 THE COURT:    I recall lines in your brief, for

8     example, you know, If the Glomar is accurate, then we don't

9     have to take up some of these other issues.          But if you

10    can't Glomar the question, then we may have some issues.           I

11    recall that.

12                MR. DEWEY:    Absolutely, Your Honor.

13                THE COURT:    Let's just assume, hypothetically,

14    that there is really just a couple ways that Prince Harry

15    gets in and -- excuse me, the Duke of Sussex gets in.            And

16    that -- let's just assume, hypothetically, that there's

17    either a public interest in understanding how the government

18    went about reaching those conclusions or, perhaps even more,

19    there's a question about whether the government acted

20    improperly.

21                And I have to waive those public interests against

22    the privacy interest here.       What standard am I applying

23    other than just, like, making it up?         What guidance is

24    there, really, other than looking to concrete cases that

25    have particular outcomes?
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 28 of 53
                                                                            28

1                 MR. DEWEY:    Your Honor, I can give you concrete

2     cases that have outcomes.       I can give you Muchnick, which I

3     think is on all fours.      And I'll circle back to that in a

4     moment, Your Honor.

5                 THE COURT:    An out-of-circuit district court

6     opinion.

7                 MR. DEWEY:    Correct.    That's the only opinion we

8     could find in these circumstances and you take what you

9     have.

10                As to the broader question, we've cited factors

11    some of your colleagues have looked to in the brief:             Press

12    interest, government interest, whether or not the

13    information is necessary to provide the transparency.            In

14    some instances, there will be a public interest, but the

15    information might be cumulative, and your colleagues said,

16    Well, you don't need it there.        Which, obviously, is not the

17    case here, or in a vacuum, as Your Honor has pointed out.

18                Some courts have looked to:       Is it per se

19    involving criminal conduct?       Not the case here.      This is the

20    Codrea opinion, where, I think, Judge Contreras did a very

21    good job of attempting to glean factors, as Your Honor

22    pointed out.     I can't give you a D.C. Circuit opinion.         I

23    can't even give you an out-of-circuit opinion.          I can only

24    give you those district court opinions that cycle through

25    the facts.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 29 of 53
                                                                       29

1                 THE COURT:    Yeah.

2                 MR. DEWEY:    One other addition I would make, Your

3     Honor, is I don't think Your Honor -- Your Honor could reach

4     that question.     I don't think Your Honor will need to here

5     because I think the government has conceded that point.

6                 THE COURT:    Which point?

7                 MR. DEWEY:    The balancing of the interest, if you

8     assume the public interest we've cited.         They did not

9     respond at all to that argument when we cross-moved.

10                THE COURT:    Well, I mean, it seems to me that a

11    fair amount of the government's brief is to argue the Duke

12    has a very heightened privacy interest.         And the implication

13    of that is to say, I think -- I will hear from the

14    government, I suppose, in rebuttal -- even if you spot that

15    there is some interest in knowing how the government went

16    about its business here -- 'cause I don't think they

17    say -- they definitely do not concede or assume, for

18    purposes of argument, that there's been a showing of

19    government impropriety.       But I do think that they argue that

20    the balancing always has to tip in favor of non-disclosure

21    because of the very heightened privacy interest.

22                MR. DEWEY:    I think that's probably right,

23    Your Honor.    I was referring to the specific parsing of the

24    factors.    And obviously, that's within Your Honor's

25    discretion.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 30 of 53
                                                                          30

1                 THE COURT:    All right.

2                 So fill in the blank, then.       The public's interest

3     in what the government's up to or alleged government

4     impropriety outweighs Prince Harry's privacy interests

5     applying "X" standard.

6                 MR. DEWEY:    Your Honor, here we have -- we would

7     submit a very significant public interest, which is the

8     public interest under Favish.        It's the most potent public

9     interest.    I can give you that from the court and from the

10    D.C. circuit.     I think you start out with that public

11    interest as not a loading of the dice, per se.

12                THE COURT:    This side of the scale is heavy if --

13                MR. DEWEY:    It's very heavy.

14                I think you would then ask the factors we went

15    through.    How does the media see this?       Some courts have

16    looked to that.     I think the answer -- you know, the media

17    is here.    They are interested.      We filed those papers.

18                THE COURT:    They may be interested because it's

19    the Duke, not because they are that interested in what the

20    government was up to.

21                MR. DEWEY:    I can't ascribe the motive.       I can

22    just say some courts have looked to as the case reported.

23    Your Honor can certainly draw that distinction, and I can't

24    contest that sitting here today.        I'm just going off the

25    factors that are there.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 31 of 53
                                                                            31

1                 THE COURT:    Understood.

2                 MR. DEWEY:    There has been some congressional

3     interest, Your Honor.      You can look to that.      I think it is

4     significant that here there is no other way to get the

5     information.     That has been a very significant factor in the

6     balancing that other district courts have looked to.

7                 I think it's relevant that this is not criminal

8     conduct, and that that's relevant.

9                 On the privacy side of the scale, Your Honor --

10                THE COURT:    Right.   Because there are cases

11    where -- I can't remember what the name of the case is,

12    which case it is.     I think it's the Tattle opinion where, in

13    the context of a death penalty case, the information sought

14    related to, I guess, additional indicia of additional

15    criminal behavior by the four potential other murderers.

16                And the D.C. Circuit said:       That still is a pretty

17    significant privacy interest, to not disclose whether the

18    government -- what the government did with respect to those

19    people in sort of a criminal investigation sense.           But, of

20    course, the D.C. Circuit, nevertheless, held that the public

21    interest in knowing how the government investigated an

22    alternative set of murders in a capital case would outweigh

23    those privacy interests.

24                MR. DEWEY:    Your Honor, the case is Roth that Your

25    Honor is thinking of.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 32 of 53
                                                                        32

1                 THE COURT:    Yeah, Roth.

2                 MR.CORNETT:    I think Roth cuts in our favor

3     because it shows the strength of the Favish interest,

4     because there they did find, no, you really do need this;

5     there's some suggestion of impropriety.

6                 As to the privacy interest, one, it's a criminal

7     case.   This is not; it's lesser.       And, two, as I understand

8     it, there the other defendants were maintaining their

9     innocence.    Here you have such an extensive admission and

10    such an amount of public profile that we think on the other

11    side of the ledger, it does diminish the privacy interest.

12                I understand what the government is saying, well,

13    he hasn't spoken to every detail of his immigration process,

14    but he has spoken about it some, Your Honor.          The statement

15    my friend referred to that we lodged with the Court earlier

16    this week, where he said:       I am not a citizen, but I've

17    thought about it.

18                The other point on that is, in our view, the

19    necessary implications of the admissions in Spare, with the

20    points we've previously discussed that are conceded, carry a

21    lot of weight and diminish the privacy interest, too.

22                For example, in the Glomar records about the

23    waiver, I think we all agree, if he checks "yes," he has a

24    waiver, or at least applied for a waiver.          And in that

25    setting, we would say his own admissions have destroyed
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 33 of 53
                                                                             33

1     pretty much any privacy interests there because it's a known

2     fact.

3                 THE COURT:    So let me just flip it around.         Maybe

4     make it a more positive statement.

5                 Because of his admissions, if it were now

6     disclosed that he had applied for a waiver, that really

7     wouldn't add much to the public's knowledge about him and

8     his conduct because he's already made public the underlying

9     facts that would make a waiver application necessary.

10                MR. DEWEY:    Correct, Your Honor.      That is

11    precisely it.     And I think there's plenty of law to follow

12    on that.    The weight of that -- the Steele dossier case, I

13    think, is a good example of that.        There's so much out there

14    that, how much does this really add to the calculus?             Not

15    much.

16                A related point --

17                THE COURT:    So let me ask you this question, then:

18    Doesn't that -- and, I mean, I know you're probably in favor

19    of this to some extent, but doesn't that counsel in favor of

20    my getting from the government an in-camera submission,

21    ex parte in-camera submission, so that I would know whether,

22    for example, what would be disclosed was a waiver

23    application because disclosure of a waiver application would

24    be to disclose a set of facts about the Duke, maybe many of

25    which are kind of already public in the sense we've been
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 34 of 53
                                                                            34

1     talking about.

2                 But if, instead, the materials reflected some

3     other thing, maybe it wouldn't.        Maybe the disclosure of

4     that information would not disclose materials that are

5     already known.

6                 MR. DEWEY:    Completely agree, Your Honor.          We have

7     no objection to any in-camera procedure that Your Honor

8     would like to pursue.      The government actually volunteered

9     in-camera review in Muchnick.

10                And I think, Your Honor, we cited in our cases --

11    brief other cases where some of your colleagues said, Well,

12    let me see the documents because that will kind of settle

13    the question.     We all cited the Phillips case from SDNY

14    where the judge there thought there was a Favish issue but

15    looked at the documents and said, well, there's nothing in

16    here that informs this.       So that really moots out the

17    parties' dispute.

18                We have no problem with that.       We think it is

19    absolutely appropriate in this case, Your Honor, should

20    Your Honor want to look at that material.

21                Obviously, Plaintiff's position is, we should

22    prevail without even getting to that step.

23                THE COURT:    I understand.

24                MR. DEWEY:    But if Your Honor wants to do it, we

25    have no objection and think it would be extremely prudent.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 35 of 53
                                                                          35

1                 If I can, on the privacy interest, Your Honor.         I

2     know we're talking at a high level of generality, the basic

3     core issues.     We would note that we think the declarations

4     on that issue have problems under D.C. Circuit law and Your

5     Honor's recent opinion in Padreas.        They don't really get

6     into some of the details Your Honor and I were just

7     discussing.

8                 For example, taking the Glomar of the 212(d)(3)(A)

9     waiver, they don't really assess, well, what is the

10    additional harm to the privacy interest and disclosure of

11    that information in light of the tableau of what we know.

12    They don't address, well, what is the actual mechanism of

13    concrete harm in knowing the visa class, for example.            None

14    of that is addressed.

15                I understand Your Honor's question, and going

16    directly to the core issue, I just want to flag that that is

17    a live issue as well.

18                THE COURT:    Right.

19                MR. DEWEY:    I did want to circle back to Muchnick,

20    Your Honor, because it is a district court case from out of

21    district, but I do think that it is the only case,

22    Your Honor is correct, to address similar circumstances.

23                THE COURT:    It feels like the closest case that

24    I've seen.

25                MR. DEWEY:    We exhaustively reviewed the cases,
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 36 of 53
                                                                            36

1     Your Honor, and that is the closest we've been able to find.

2                 I just wanted to respond briefly to the

3     government's submissions.        The fact that one is accused,

4     regardless of how credibly, of sexual abuse is actually not

5     a ground to deny admission, depending on how one's coming

6     in.   It is -- it could, in theory, be used discretionarily,

7     but it's not an actual ground for admission.          And,

8     therefore, we would submit that this case is actually more

9     egregious than Muchnick because we have a --

10                THE COURT:    Let me just pause you there to be a

11    very layperson about it, maybe.        Does that mean that if

12    someone is a UK citizen -- or I can't remember if he was

13    Ireland or UK, but whatever, assuming a UK citizen -- is

14    credibly accused of a sexual assault crime and not

15    prosecuted, and then appears for admission to the U.S.           Is

16    there a box on the form that that person has to check "yes"

17    or "no" to?

18                MR. DEWEY:    Yes.   Probably as to previous law

19    enforcement encounters.       Think of -- I know Your Honor has

20    done a clearance review.       Think of that.

21                THE COURT:    Have you ever been arrested?        Okay.

22                MR. DEWEY:    That same type of question,

23    Your Honor.    Encounters with law enforcement?        Yes.

24                There was an issue in Muchnick as to whether he

25    was truthful on a subsequent application for citizenship,
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 37 of 53
                                                                          37

1     but he was truthful on the initial application.           We know

2     that from the opinion.      And that is not a per se ground of

3     inadmissibility.     You could investigate it, decide someone

4     is not a sufficient character.        That is purely

5     discretionary.     It is not a per se ground of

6     inadmissibility, like we are talking about here.

7                 As to the realm of the public interest, we would

8     submit there is a public interest to understand, is DHS

9     engaging in favoritism?       This is not a new issue in this

10    space.    This has been brought up before with other cases.

11    Has DHS engaged in preferential treatment for high-profile

12    individuals with these types of issues?

13                So we really do think that the government's

14    distinction, well, he was credibly accused, doesn't really

15    cut any water.     And, if anything, we are more reliant on

16    that.    And we do think that, you know, if Your Honor follows

17    Judge Breyer's opinion, that we do prevail.

18                If I can just circle back to another technical

19    point.    We do think there is an issue that the Department

20    has not at all controverted the expert reports, and we think

21    at the summary judgment stage, once those are in, there

22    needs to be some contravention of those reports of some

23    sort.

24                THE COURT:    Well, to the extent they are

25    statements of law --
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 38 of 53
                                                                           38

1                 MR. DEWEY:    Understand, Your Honor.

2                 THE COURT:     -- that's my bailiwick.      To the

3     extent that they purport to weigh public and private

4     interests, that's my bailiwick.

5                 To the extent that they are statements about

6     practice and the like, a hundred percent.          They are in the

7     record.    They are uncontroverted, from my perspective.

8                 MR. DEWEY:    Correct.    We think it's a problem for

9     the government, Your Honor.       That that significantly weighs

10    in favor --

11                THE COURT:    Which part?

12                MR. DEWEY:    Not -- the last part, Your Honor,

13    indicated to the extent those statements are uncontroverted

14    and in the record.

15                THE COURT:    No, no, no, no.     For example --

16                MR. DEWEY:    The difficulty of obtaining the

17    waiver, the waiver process, the types of examinations they

18    go through.    I know Mr. Saunders talks about some of his

19    other high-profile clients.

20                THE COURT:    I haven't really heard the government

21    to argue that it is easy to get a waiver.

22                MR. DEWEY:    Understood, Your Honor.      I just want

23    to clarify that, from our perspective, that's undisputed and

24    that cuts in our favor.       I don't know if they've taken a

25    position on that.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 39 of 53
                                                                        39

1                 THE COURT:    Fair enough.

2                 MR. DEWEY:    I think that just undergirds the

3     public interest.     That there really is, in our case, under

4     Favish, where we need to know more, Favish is not

5     insurmountable.     We've given the Court the relative quote.

6     It's less than overcoming good faith.

7                 THE COURT:    Right.

8                 MR. DEWEY:    We think that we've overcome that

9     clearly.    Here, when you, as Your Honor has done, carefully

10    look at the facts that are in the record and then draw the

11    appropriate conclusions from them.

12                With that, Your Honor, unless the Court has any

13    other questions, I'm happy to rest for now.

14                THE COURT:    Yes.   Thank you.    I'll give you an

15    opportunity for surrebuttal, if necessary.

16                MR. KNIGHT:    Thank you, Your Honor.

17                THE COURT:    Of course.

18                Counsel.

19                Mr. Bardo, I'm happy to hear from you on anything

20    you'd like to address.

21                MR. BARDO:    Yes, Your Honor.

22                Mr. Dewey talked extensively about the National

23    Archives versus Favish case.       They haven't met the burden

24    under Favish to demonstrate a potential government

25    impropriety.     There is a line in the opinion that says
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 40 of 53
                                                                           40

1     government impropriety is easy to allege but difficult to

2     prove.

3                 As we've discussed, in my first go-round here,

4     there are multiple lawful ways -- or several lawful ways in

5     which the Duke could have been admitted into the United

6     States.    Getting through any of those ways does not

7     demonstrate any kind of government impropriety.

8                 The plaintiff's have --

9                 THE COURT:    Wait.   Just to go back.     The multiple

10    lawful ways are what?

11                MR. BARDO:    Yes.    Waiver and diplomatic visa.

12                THE COURT:    But the plaintiff says, It's absurd to

13    think that he has a diplomatic visa and a waiver takes a

14    long time, and you haven't disputed that.

15                MR. BARDO:    No.    They also have no evidence that

16    he didn't go through the waiver process and go through the

17    long waiver process years in advance.

18                THE COURT:    That's true.    But it seems, in light

19    of the book, somewhat unlikely that that happened.           Don't

20    you think?

21                MR. BARDO:    That's the way he characterizes it in

22    a book that's meant for a commercial audience.          It's not

23    necessarily the full story.

24                THE COURT:    But you agree, then, that other than

25    having a diplomatic visa and going through the waiver
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 41 of 53
                                                                       41

1     process, other than those two options, the only way the Duke

2     could have entered would have been to lie on the form?

3                 MR. BARDO:    Well, it's possible that a consular

4     officer just may not have sought an admission, but that's

5     unlikely.

6                 THE COURT:    Right.   The likely ways he could have

7     been admitted are diplomatic visa, waiver, lied on the form.

8                 MR. BARDO:    Yes.    That's right, Your Honor.

9                 THE COURT:    That's really the universe.

10                MR. BARDO:    Yes.

11                THE COURT:    But Plaintiff says each of those

12    things raises a red flag.        Diplomatic visa -- I'm just

13    putting words in Plaintiff's mouth -- is kind of

14    preposterous to consider, given the current relationship

15    between the Duke and the family.        So that's diplomatic visa.

16                Waiver, the problem with waiver is they have

17    experts that are unrebutted that say it takes a really long

18    time.   So you have to imagine that that process, if it was

19    to work to allow him to enter in March of 2020, had to start

20    before that, but that seems highly inconsistent with how he

21    articulates what they did in the book from Canada, COVID,

22    January/February 2020 through March 2020.

23                MR. BARDO:    Yeah.

24                THE COURT:    And so if he sought a waiver and was

25    granted it very quickly, Plaintiff says that would be
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 42 of 53
                                                                            42

1     anomalous and could imply preferential treatment.

2                 Then the third option, the third primary option

3     is, he didn't check the box.       He didn't admit to drug use.

4     And if that's the world we're in, Plaintiff says, Well,

5     okay, he entered, but then the government should have done

6     something thereafter because it has highly public admissions

7     to suggest that the form was inaccurate.

8                 And the government typically, when it gets wind of

9     people who lied on their immigration forms, does something

10    about it.    And if the government hasn't done anything here,

11    that's also at least a red flag.

12                So what is your responses to that suite of -- I'll

13    put it this way, the suite of red flags that Plaintiff

14    raises in response to the options you've articulated?

15                MR. BARDO:    Sure.   Well, with respect to lying on

16    the form, I mean, that goes through various levels of

17    speculation.     They have no factual basis or any basis to

18    believe that he got in that way and that the government is

19    somehow pulling its punches for somebody who lied on a form.

20                THE COURT:    Doesn't that mean that it is then --

21    the very likely scenario here is that he sought a waiver?

22                MR. BARDO:    I wouldn't say it's very likely.       I

23    mean, it's --

24                THE COURT:    Most likely?

25                MR. BARDO:    I wouldn't say that either.       I mean,
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 43 of 53
                                                                         43

1     it's possible for him to have a diplomatic visa.           He is

2     still a member of the British royal family and still has the

3     title Duke of Sussex.

4                 I know he's formally stepped down from his roles,

5     but he is still a government official in the United Kingdom

6     by his birth and by his title.

7                 THE COURT:    Does he have a privacy interest in the

8     fact that he holds a diplomatic visa?

9                 MR. BARDO:    Yes, he does.     As a matter of fact,

10    that would be -- we would be prohibited from disclosing that

11    because that's visa information.        I cited the statute in my

12    brief.

13                THE COURT:    Yeah.

14                MR. BARDO:    Courts have found that Exemption 3

15    would apply in that circumstance.

16                THE COURT:    Okay.

17                MR. BARDO:    That would be in the State

18    Department's custody.

19                THE COURT:    Right.   The visa -- the materials

20    around a diplomatic visa, of course, are principally resided

21    at State.    I get that.

22                If someone submitted to DHS or to State -- I'm not

23    trying to make this about the relevant agency -- question,

24    does the Duke of Sussex presently have a diplomatic visa,

25    would the government Glomar that or have to respond to that?
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 44 of 53
                                                                         44

1     What's the --

2                 MR. BARDO:    Well, FOIA doesn't require the

3     government to answer interrogatories.         So if they were --

4                 THE COURT:    Sorry.   You're right.

5                 Disclose to us records relating to any diplomatic

6     visa held by the Duke of Sussex.

7                 MR. BARDO:    Right.   They would have to Glomar that

8     and they would be able to cite Exemption 6 as well as

9     Exemption 3.

10                THE COURT:    Okay.    I read -- perhaps incorrectly

11    read Plaintiff's brief to suggest that there is no privacy

12    interest in a diplomatic visa because it's diplomatic.

13                MR. BARDO:    That is not correct, Your Honor.

14                THE COURT:    Okay.    Okay.

15                MR. BARDO:    It's still -- statutes prohibit us

16    from disclosing that information.

17                THE COURT:    All right.    I, again, took you off of

18    the argument you're presenting.        You're talking about

19    Favish.

20                MR. BARDO:    Yes.    In the last part that I was

21    going to address with Favish, nothing that the plaintiffs

22    have submitted in these declarations really add additional

23    insight into what's already in the briefs or what's already

24    publicly known.

25                They have no basis to contend that Prince Harry
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 45 of 53
                                                                       45

1     didn't go through the process ahead of time and that he

2     didn't go through a rigorous examination by a consular

3     officer, followed by the process that's required for a

4     waiver.

5                 And even the declarants that Plaintiff submitted,

6     even they say that there are no set written standards

7     necessarily to obtain a waiver.        So it's difficult to

8     understand how they could allege government impropriety in

9     handling a case that -- in making a decision where there

10    isn't necessarily clear written standards, where there's a

11    lot of discretion.

12                THE COURT:    But you agree that for Prince Harry to

13    enter on March 14th, 2020, pursuant to a waiver, at least

14    standard protocol would have required that the waiver be

15    teed up earlier than that day because, otherwise, it would

16    normally take long.

17                MR. BARDO:    That's probably correct, Your Honor.

18                THE COURT:    Okay.   Got it.

19                Anything else you would like to add, Counsel?

20                MR. BARDO:    Oh, yeah.    That's it, Your Honor.

21    Thank you.

22                THE COURT:    Thank you.

23                Mr. Dewey.

24                MR. DEWEY:    One moment, Your Honor.

25                THE COURT:    Take your time.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 46 of 53
                                                                         46

1                 MR. DEWEY:    Your Honor, very quickly on the

2     diplomatic visa question.

3                 THE COURT:    Yeah.

4                 MR. DEWEY:    The Class A visa, unless it were the

5     king himself, wouldn't permit work.         And we know the Duke is

6     working here.     If that was the case, there would be a pretty

7     substantial red flag there.       And that's in the Arthur

8     declaration, Paragraph 14, Note 1 in App A.

9                 Second, Your Honor, and this is on Page 3 of the

10    appendix to the Arthur declaration.         It lists the

11    requirement documentation.        Plaintiff's submission is the

12    visa material may be covered by that statute.          It hasn't

13    been asserted here.

14                But there's a diplomatic note that is required to

15    get the visa, and that is a note that says he is coming over

16    'cause he's a diplomat; he's coming over because he's

17    traveling on behalf of Her Majesty the Queen, to meet the

18    president and do good work.

19                We would submit that note is not actually going to

20    be covered because it's not solely part of the visa issuance

21    or refusal process.      In our reply at Page 11, we cite one of

22    your colleague's opinion in the Darnbrough case, which says

23    that exemption is narrowly applied.

24                So our submission was, Whatever the interest in

25    the, "Do I have a diplomatic visa or not?"          There is no
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 47 of 53
                                                                         47

1     privacy interest in, "Am I here as a diplomat?"           "Am I here

2     on behalf of His Majesty the King?"         I would think that

3     would be an appropriate question to be put to the government

4     in the abstract.

5                 THE COURT:    What about the possibility -- this is

6     to sort of go back a little bit, I mean, to where you

7     started:    It's at least hypothetically possible that the

8     Duke could have entered on a diplomatic visa and then

9     applied for a different visa, and in connection with the

10    application for a non-diplomatic visa, where he now has some

11    time, he's here, he says, You know what?         I've decided I

12    want to say.     And he says, But I'm probably not going to be

13    a diplomat anymore, and I want to be a regular, old visa

14    entrant.

15                MR. DEWEY:    As a technical matter, if he was in

16    status, he could apply for another visa.

17                Again, Your Honor, we'd go back to we think the

18    diplomatic note; there would be something in the DHS file

19    reflecting that status.       I can't point you to a case, but we

20    would submit there's no privacy interest.

21                THE COURT:    The thing about that, it means that

22    there is -- there's at least this possibility -- if he

23    doesn't have a diplomatic visa on March 14th, 2020,

24    obviously, he's applying not as a diplomat and he has to

25    check the box and get a waiver.        And that takes some time.
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 48 of 53
                                                                        48

1                 But if he has a diplomatic visa at that time,

2     enters, and then, hypothetically, applies for a waiver, then

3     the lengthy process your experts talk about isn't something

4     that has to happen on March 14th.        It just has to happen

5     before his visa converts to a different visa.

6                 MR. DEWEY:    That would be correct on Your Honor's

7     hypothetical.     If I might step back for a moment, though.

8                 THE COURT:    Please.

9                 MR. DEWEY:    As to that entry, if he somehow had a

10    valid diplomatic visa, normally it would only be issued for

11    the trip.

12                THE COURT:    It might not allow him to remain?

13                MR. DEWEY:    It would be an abuse to use that to

14    enter, Your Honor, because he was not entering for a

15    diplomatic purpose.      At that time, January 18th is the

16    so-called Sandringham statement.        The Queen takes him back.

17    He does not have any official duties at that point.

18                In February, his security is pulled, Your Honor.

19    We would submit it would be extraordinary anomalous for Her

20    Majesty's government to withdraw official security, yet

21    permit someone to enter as a diplomat or as a government

22    official on a government mission.

23                THE COURT:    Yeah.

24                MR.CORNETT:    Again, absent the King himself, the

25    Class A visa, you can't come here and work.          And that would
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 49 of 53
                                                                              49

1     be a bigger red flag if -- I want to be careful, if I'm

2     articulating this correctly.       That may have happened, but

3     when the agent was admitting him and saw he's coming in on a

4     Class A visa, when the whole world knows he's no longer a

5     working royal; that would in and of itself raise a profound

6     red flag of:     What in the world is happening that someone

7     can come in on that visa?       Which would not be appropriate

8     for that class of entry.

9                 Again, Your Honor, and I apologize for the

10    confusion to brief because it's a fine point.          The visa

11    statute is narrowly drawn on your colleague's opinion.             Our

12    submission is that the communications from the British

13    government saying the Duke of Sussex has an official role,

14    and that's why he's coming in, or the Duke of Sussex is an

15    accredited credible diplomat, that communication should be

16    responsive.    It would be in the DHS file somewhere.            It's

17    relevant.

18                We would submit that's not covered by the statute

19    and you don't have a privacy issue absent an extraordinary

20    national security consideration and saying, "I'm on official

21    business or I'm here as an accredited diplomat."

22                THE COURT:    The brief was clear.      I was sort of

23    elevating it to higher level of generality.

24                I think what I was really trying to explore was

25    the -- I mean, obviously, it seems unlikely that the Duke is
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 50 of 53
                                                                            50

1     still on a diplomatic visa, for all the reasons you've

2     articulated.     What I was really just exploring was whether

3     there was a possibility that he was on one when he entered

4     and then converted later in a way that would make working

5     acceptable on the new visa; whereas it wouldn't be on the

6     diplomatic visa and the like.

7                 MR. DEWEY:    He could have done that, Your Honor.

8     He was working pretty quickly when he was here and he was

9     residing here.     And then, again, we think letting him in on

10    that visa without taking a step back and saying, Wait a

11    minute.    This is quite odd.

12                THE COURT:    Right.

13                MR. DEWEY:    What is going on here?      That that

14    would in and of itself be a red flag.         And I think the

15    declarants are pretty clear on that, Your Honor.           And that

16    that's why they both discounted that possibility in their

17    analysis.

18                THE COURT:    Got it.

19                MR. DEWEY:    Unless the Court has any other

20    questions, I wanted to clarify that point, but I'm happy to

21    take any other questions.

22                THE COURT:    No, no.    I think I have it.     Thank you

23    very much.

24                MR. DEWEY:    Thank you, Your Honor.

25                THE COURT:    Mr. Bardo, any last word?       Don't need
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 51 of 53
                                                                       51

1     to.

2                 MR. BARDO:    Nothing else, Your Honor.

3                 THE COURT:    Okay.   Thank you.

4                 So, first of all, thank you for the strong briefs

5     and argument today.      I'm going to take the matter under

6     advisement, as I often do in highly-disputed, somewhat

7     complicated summary judgment contexts.

8                 My taking it under advisement is to both the

9     ultimate questions and, to some extent, the predicate

10    question of whether I think I should look at some

11    information ex parte in camera.        I haven't even decided that

12    that's necessary.

13                I think if I were to do so, I would decide that

14    pretty quickly and I would ask the government to make a

15    submission.    I understand the government's argument that

16    even if I do that, I should, in the first instance, permit

17    or accept declarations, rather than the underlying

18    materials.

19                Frankly, that's my view generally because it's

20    often the case that the underlying documents aren't all that

21    easily decipherable without explanation, and sometimes the

22    declarations help that.

23                So I will take the matter under advisement and you

24    will hear from me.      You will probably hear from me -- if I

25    do want something in camera, you'll probably hear from me
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 52 of 53
                                                                       52

1     pretty soon.     Okay?

2                 Thank you, all.

3           (Proceedings concluded at 3:41 p.m.)

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:23-cv-01198-CJN Document 37 Filed 02/25/24 Page 53 of 53
                                                                       53

1                            C E R T I F I C A T E

2

3                 I, Lorraine T. Herman, Official Court Reporter,

4     certify that the foregoing is a true and correct transcript

5     of the record of proceedings in the above-entitled matter.

6

7

8          February 25, 2024            /s/ Lorraine T. Herman
                 DATE                       Lorraine T. Herman
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
